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                             Nebraska Court of Appeals Advance Sheets
                                  32 Nebraska Appellate Reports
                                                      MACY V. MACY
                                                  Cite as 32 Neb. App. 258



                                         Jeffry P. Macy II, appellant and
                                        cross-appellee, v. Megan A. Macy,
                                          appellee and cross-appellant.
                                                       ___ N.W.2d ___

                                          Filed September 26, 2023.   No. A-22-528.
                 1. Divorce: Child Custody: Child Support: Property Division:
                    Alimony: Attorney Fees: Appeal and Error. In a marital dissolution
                    action, an appellate court reviews the case de novo on the record to
                    determine whether there has been an abuse of discretion by the trial
                    judge. This standard of review applies to the trial court’s determinations
                    regarding custody, child support, division of property, alimony, and
                    attorney fees.
                 2. Evidence: Appeal and Error. In a review de novo on the record, an
                    appellate court is required to make independent factual determinations
                    based upon the record, and the court reaches its own independent con-
                    clusions with respect to the matters at issue.
                 3. Judges: Words and Phrases. A judicial abuse of discretion exists if the
                    reasons or rulings of a trial judge are clearly untenable, unfairly depriv-
                    ing a litigant of a substantial right and denying just results in matters
                    submitted for disposition.
                 4. Evidence: Appeal and Error. When evidence is in conflict, an appel-
                    late court considers, and may give weight to, the fact that the trial judge
                    heard and observed the witnesses and accepted one version of the facts
                    rather than another.
                 5. Divorce: Property Division: Equity. Neb. Rev. Stat. § 42-365 (Reissue
                    2016) authorizes a trial court to equitably distribute the marital estate
                    according to what is fair and reasonable under the circumstances.
                 6. Divorce: Property Division. In a marital dissolution action, the pur-
                    pose of a property division is to distribute the marital assets equitably
                    between the parties.
                 7. ____: ____. In a marital dissolution action, there is no mathematical
                    formula by which property awards can be precisely determined, but
                    as a general rule, a spouse should be awarded one-third to one-half of
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           Nebraska Court of Appeals Advance Sheets
                32 Nebraska Appellate Reports
                                 MACY V. MACY
                             Cite as 32 Neb. App. 258
      the marital estate, the polestar being fairness and reasonableness as
      determined by the facts of each case.
 8.   ____: ____. In a dissolution action, the equitable division of property
      is a three-step process. The first step is to classify the parties’ property
      as either marital or nonmarital, setting aside the nonmarital property to
      the party who brought the property to the marriage. The second step
      is to value the marital assets and marital liabilities of the parties. And
      the third step is to calculate and divide the net marital estate equitably
      between the parties.
 9.   ____: ____. As a general rule, all property accumulated and acquired by
      either spouse during the marriage is part of the marital estate, unless it
      falls within an exception to the general rule.
10.   Divorce: Property Division: Proof. In a marital dissolution proceed-
      ing, the burden of proof rests with the party claiming that property
      is nonmarital.
11.   Property Division. The date upon which the marital estate is valued
      should be rationally related to the property composing the marital estate.
12.   Divorce: Property Division: Pensions. In dissolution actions, district
      courts have broad discretion in valuing pension rights and dividing such
      rights between the parties.
13.   Property Division: Appeal and Error. The date of valuation of a mari-
      tal estate is reviewed for an abuse of the trial court’s discretion.
14.   Property Division. A trial court is not required to use only one valu-
      ation date for marital assets and marital debts in equitably dividing a
      marital estate.
15.   ____. The purpose of assigning a date of valuation of a marital estate in
      a decree is to ensure that the marital estate is equitably divided.
16.   ____. The choice of a date as of which marital assets are available for
      equitable distribution should be identified and valued must be dictated
      largely by pragmatic considerations.
17.   ____. The division of property is not subject to a precise mathemati-
      cal formula.
18.   Evidence: Appeal and Error. When evidence is in conflict, an appel-
      late court considers, and may give weight to, the fact that the trial judge
      heard and observed the witnesses and accepted one version of the facts
      rather than another.
19.   Judgments: Final Orders: Words and Phrases. A “judgment” is a
      court’s final consideration and determination of the respective rights and
      obligations of the parties to an action as those rights and obligations
      presently exist.
20.   Judgments: Equity. The void conditional judgment rule does not
      extend to actions in equity or to equitable relief granted within an
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           Nebraska Court of Appeals Advance Sheets
                32 Nebraska Appellate Reports
                                 MACY V. MACY
                             Cite as 32 Neb. App. 258
      action at law. Rather, where it is necessary and equitable to do so, a
      court of equitable jurisdiction may enter a conditional judgment and
      such judgment will not be deemed void simply by virtue of its condi-
      tional nature.
21.   Judgments: Equity: Collateral Attack. Simply because a conditional
      judgment in an action at equity is not automatically void, it does not
      follow that all conditional judgments are acceptable on direct review
      or that judgments in equity cannot, for different reasons, be void and
      therefore subject to collateral attack.
22.   Judgments: Equity. Conditional judgments in equity are required
      to determine the rights and obligations of the parties with reason-
      able certainty.
23.   Divorce: Property Division: Pensions. Marital assets are subject to
      equitable division in a dissolution proceeding, and retirement benefits,
      whether vested or not vested, are eligible for inclusion in the mari-
      tal estate.
24.   Divorce: Property Division: Armed Forces: Pensions. Neb. Rev. Stat.
      § 42-366(8) (Reissue 2016) requires that a nonvested military pension
      be treated as marital property in a dissolution proceeding.
25.   Divorce: Child Custody. When custody of minor children is an issue in
      a proceeding to dissolve the marriage of the children’s parents, custody
      is determined by parental fitness and the children’s best interests.
26.   Child Custody. When both parents are found to be fit, the inquiry for
      the court on the issue of custody is the best interests of the children.
27.   ____. When determining the best interests of the child in deciding cus-
      tody, a court must consider, at a minimum, (1) the relationship of the
      minor child to each parent prior to the commencement of the action;
      (2) the desires and wishes of a sufficiently mature child, if based on
      sound reasoning; (3) the general health, welfare, and social behavior
      of the child; (4) credible evidence of abuse inflicted on any family or
      household member; and (5) credible evidence of child abuse or neglect
      or domestic intimate partner abuse.
28.   Visitation. The Parenting Act provides that the best interests of a
      child require a parenting plan that provides for a child’s safety, emo-
      tional growth, health, stability, physical care, and regular school attend­
      ance, and which promotes a child’s continued contact with his or her
      families and parents who have shown the ability to act in the child’s
      best interests.
29.   Divorce: Property Division: Alimony. In dividing property and consid-
      ering alimony upon a dissolution of marriage, a court should consider
      four factors: (1) the circumstances of the parties, (2) the duration of the
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            Nebraska Court of Appeals Advance Sheets
                 32 Nebraska Appellate Reports
                                  MACY V. MACY
                              Cite as 32 Neb. App. 258
       marriage, (3) the history of contributions to the marriage, and (4) the
       ability of the supported party to engage in gainful employment without
       interfering with the interests of any minor children in the custody of
       each party. In addition, a court should consider the income and earning
       capacity of each party and the general equities of the situation.
30.    Alimony. The purpose of alimony is to provide for the continued main-
       tenance or support of one party by the other when the relative economic
       circumstances make it appropriate.
31.    Alimony: Appeal and Error. In reviewing an alimony award, an appel-
       late court does not determine whether it would have awarded the same
       amount of alimony as did the trial court, but whether the trial court’s
       award is untenable such as to deprive a party of a substantial right or
       just result. The ultimate criterion is one of reasonableness.
32.    ____: ____. An appellate court is not inclined to disturb the trial court’s
       award of alimony unless it is patently unfair on the record.
33.    Property Division. Marital debt includes only those obligations incurred
       during the marriage for the joint benefit of the parties.

   Appeal from the District Court for Scotts Bluff County: Leo
P. Dobrovolny, Judge. Affirmed in part, affirmed in part as
modified, vacated in part, and in part reversed and remanded
with directions.

      Adam R. Little, of Nebraska Legal Group, for appellant.

   Rhonda R. Flower, of the Law Office of Rhonda R. Flower,
for appellee.

      Riedmann, Bishop, and Welch, Judges.

      Welch, Judge.
                      I. INTRODUCTION
   Jeffry P. Macy II appeals and Megan A. Macy cross-appeals
from the Scotts Bluff County District Court’s order dissolv-
ing their marriage and adjudicating issues of custody, property
classification and division, and alimony. For the reasons stated
herein, we affirm in part, affirm in part as modified, vacate in
part, and in part reverse and remand with directions.
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                          MACY V. MACY
                      Cite as 32 Neb. App. 258
                  II. STATEMENT OF FACTS
   The parties were married in August 2008 and had two chil-
dren during the course of their marriage: twins who were born
in 2009. During the parties’ marriage, Jeffry was a commis-
sioned officer in the U.S. Navy, which job required the family
to reside in at least four different locations in California and
Maryland. During the marriage, Megan primarily took care of
the home and the children, while also earning an undergraduate
degree and a master’s degree, which involved incurring student
loan debt. After the children entered kindergarten, Megan was
employed teaching at different schools at the various duty
stations. In October 2018, based upon the parties’ agreement,
Megan began homeschooling the children.
   In March 2019, Megan and the children relocated to
Nebraska to care for Megan’s father, who had suffered a heart
attack. Because Jeffry was still actively serving in the Navy,
he was unable to relocate to Nebraska with the family. Megan
testified that the parties separated in May 2019, shortly after
her move to Nebraska. Despite their separation, the parties pur-
chased a house in Nebraska in July 2019, and Jeffry provided
Megan with $3,000 to $3,500 in monthly support. Jeffry rented
a room and a storage locker in California. Megan testified
that after moving to Nebraska, she obtained employment as
a teacher, earning approximately $63,000 per year in addition
to receiving Department of Veterans Affairs (VA) disability
benefits that she testified would decrease after the divorce to
$758.28 monthly.
   In May 2020, Jeffry filed for dissolution of marriage,
requesting, inter alia, joint legal and physical custody of the
parties’ minor children. In her answer and counterclaim, Megan
requested, inter alia, legal and physical custody of the parties’
minor children. The dissolution proceeding was held over 2
days in February and March 2022. During the trial, witnesses
included Jeffry; Megan; the parties’ children; and Adam Astley,
an attorney specializing in dissolutions and military benefits.
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                           MACY V. MACY
                       Cite as 32 Neb. App. 258
Additionally, the parties offered into evidence a joint property
statement, among other exhibits.
   Jeffry testified that after Megan and the children relocated
to Nebraska, he had difficulty visiting the children due to his
deployment schedule and his visits were generally limited to
holidays. Due, in part, to his desire to be closer to his children,
Jeffry decided to separate from the Navy and was honorably
discharged on September 30, 2021, after 13 years of ser-
vice. Jeffry subsequently moved to Nebraska and purchased a
separate home. At the time of the trial, Jeffry was employed
full time as “a director of IT in cyber operations,” earning
$150,000 a year. He was also employed part time, earning
$33,000 as a remote teacher at a university, but he indicated
that this position was temporary. After moving to Nebraska,
Jeffry exercised parenting time on Monday and Wednesday
evenings after the children were done with school and one
weekend per month.
   Jeffry testified that he requested joint physical and legal
custody of the children because the children informed him that
they wanted equal time with both parents. Megan, on the other
hand, testified that, in her opinion, joint custody was not in the
children’s best interests because Jeffry needed additional time
to acclimate to spending more time with the children, needed
to make sure his environment was proper for the children, and
needed to get used to having only one job, and also because
there was an incident during Jeffry’s parenting time when one
of the children located a loaded gun. The parties’ children
testified that they had good relationships with both of their
parents and wanted equal time with them.
   As it related to the division of the marital property, the par-
ties entered into a property settlement agreement where they
generally agreed on the valuation of most of the parties’ debts
and assets and how to divide the marital property. During the
trial, the parties disputed the value and classification of cer-
tain debts and assets. Specifically, they disputed the classifica-
tion of Megan’s student loans and a credit card, the value of
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                           MACY V. MACY
                       Cite as 32 Neb. App. 258
a motorcycle, the valuation of debt related to a fence installed
at the home where Megan and the children resided, the date of
valuation of Jeffry’s Thrift Savings Plan (TSP), and the divi-
sion of his military benefits.
   Megan adduced testimony from Astley, an attorney special-
izing in difficult dissolution cases. Astley testified regarding
the military benefits and credits at issue in this case. Astley
testified that because Jeffry did not complete 20 years of
service in the Navy, his military pension benefit remained
unvested unless he either reentered the military or began work-
ing in the federal sector, which would provide Jeffry with
the opportunity to buy back his 13 years of service and, if in
total, he accumulated 20 years, he would be eligible to receive
his pension. As a result, Astley testified that the court should
include those potential benefits in the division of the marital
estate when entering the final decree, and he provided the pro-
posed language that is required in the decree to properly divide
those benefits.
   In June 2022, the district court entered a decree dissolv-
ing the parties’ marriage, awarding the parties joint physical
and legal custody of the parties’ minor children, and dividing
the marital estate. Specifically, as relevant to this appeal, the
district court awarded Megan alimony of $250 per month for
60 months; awarded Jeffry the motorcycle, which the court
valued at $2,000; classified $27,453 of Megan’s student loans
and $2,893 in Megan’s credit card debt incurred during the
parties’ marriage as marital debt; and determined that Megan’s
payment of $8,000 for the installation of a fence at the marital
property should be credited to her.
   Further, regarding Jeffry’s military “credits,” the court found
that Jeffry
      served as an active[-]duty member of the U.S. Navy
      for more than ten (10) years overlapping ten (10) years
      of marriage. The credits that [Jeffry] earned during his
      service are a marital asset, subject to division by this
      Court. [Jeffry] separated from active[-]duty service on
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             32 Nebraska Appellate Reports
                          MACY V. MACY
                      Cite as 32 Neb. App. 258
      September 30, 2021, having served less than twenty
      (20) years.
         Should [Jeffry] re-enter active[-]duty military service
      at any time during his lifetime, he shall promptly notify
      [Megan] of his re-entry. Should [Jeffry] complete a total
      of twenty (20) or more years of military service, [Megan]
      will be awarded a portion of [Jeffry’s] military retired
      pay, as described in this section, and with the following
      factual findings, legal conclusions, and information nec-
      essary for [Defense Finance and Accounting Service] to
      effectuate this award.
(Emphasis omitted.) The court awarded Megan 50 percent of
the disposable military retired pay that Jeffry “would have
received had he retired with a retired base (High-3) of $7,630
per month, and with 12.75 years of credi[ta]ble service on July
31, 2021. This award shall include [50 percent] of all future
cost-of-living adjustments (‘COLA’s’).” (Emphasis omitted.)
   In addition to the award of the disposable military retired
pay, the court’s award went further and stated:
      [Jeffry] shall also promptly notify [Megan] if he obtains
      employment with any government branch or agency
      which will permit him to obtain any credit towards any
      other government retirement system in consideration for
      the credits he earned while in the military. His notifica-
      tion must include the name of the branch or agency, and
      the retirement system in which he will participate. If
      [Jeffry] obtains such employment having not completed
      twenty (20) years of military service, he shall be entitled
      to sell, merge, trade, or waive his military retirement
      credits for credits with such agency’s retirement system
      (this shall include the right to make a “Military Service
      Credit Deposit” with the government).
         If [Jeffry] makes such a deposit or sells, merges,
      trades, or waives his military retired pay in return for
      credits under the agency’s retirement system, [Megan]
      will be awarded a portion of [Jeffry’s] retirement under
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             32 Nebraska Appellate Reports
                          MACY V. MACY
                      Cite as 32 Neb. App. 258
     that system which is equal to one-half of a fraction, the
     numerator of which is 153 months (12 years, 9 months),
     and the denominator of which is the total number of
     months of equivalent service recognized by the agency to
     include service after the marriage and any service credits
     obtained by selling merging, trading, or waiving mili-
     tary retired pay or by making a Military Service Credit
     Deposit. In such case, [Megan] shall also be awarded
     a survivor annuity in a sufficient amount to continue
     her benefits at the same level in the event [Jeffry] pre-
     deceases [sic] her. [Megan’s] portion of this benefit will
     be perfected by entry of an appropriate order or instru-
     ment which complies with the requirements of the system
     in which [Jeffry] participates.
        If [Jeffry] is able to sell or waive his military retired
     pay credits outright in return for a fixed sum of money
     or property (such as, for example, funds deposited in
     a TSP or similar Plan), [Jeffry] shall promptly notify
     [Megan] of the sale or waiver, including a description of
     the money or property he received and the Plan to which
     it is attached, and [Megan] shall be awarded ½ of the
     proceeds of such sale or waiver.
(Emphasis omitted.) Jeffry appeals, and Megan cross-appeals,
from the court’s order.

                III. ASSIGNMENTS OF ERROR
   Jeffry’s assignments of error, consolidated and restated, are
that the district court abused its discretion by (a) improperly
classifying as marital debt $27,453 in Megan’s student loans,
$8,000 for a replacement fence, and $2,893 in Megan’s credit
card debt; (b)improperly valuing Jeffry’s TSP and the motor-
cycle; (c) improperly calculating the equalization payment;
and (d) entering a conditional judgment of unvested military
“credits” that did not determine the rights or obligations of the
parties with reasonable certainty.
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                          MACY V. MACY
                      Cite as 32 Neb. App. 258
   Megan cross-appeals, arguing that the district court abused
its discretion in awarding the parties joint legal and physical
custody, awarding alimony of $250 per month for 60 months,
and including $3,000 in Jeffry’s attorney fees in its division of
the parties’ marital estate.
                 IV. STANDARD OF REVIEW
   [1-3] In a marital dissolution action, an appellate court
reviews the case de novo on the record to determine whether
there has been an abuse of discretion by the trial judge. Eis v.
Eis, 310 Neb. 243, 965 N.W.2d 19 (2021). This standard of
review applies to the trial court’s determinations regarding cus-
tody, child support, division of property, alimony, and attorney
fees. Id. In a review de novo on the record, an appellate court
is required to make independent factual determinations based
upon the record, and the court reaches its own independent
conclusions with respect to the matters at issue. Id. A judicial
abuse of discretion exists if the reasons or rulings of a trial
judge are clearly untenable, unfairly depriving a litigant of a
substantial right and denying just results in matters submitted
for disposition. Id.   [4] When evidence is in conflict, an appellate court consid-
ers, and may give weight to, the fact that the trial judge heard
and observed the witnesses and accepted one version of the
facts rather than another. Wright v. Wright, 29 Neb. App. 787,
961 N.W.2d 834 (2021).
                          V. ANALYSIS
                       1. Jeffry’s Appeal
                 (a) Classification and Valuation
                         of Marital Debt
   Jeffry first assigns as error that the district court abused
its discretion in classifying the following as marital debt: (i)
$27,453 of Megan’s student loans incurred during the parties’
marriage, (ii) Megan’s payment of $8,000 for the installation of
a fence, and (iii) $2,893 of Megan’s credit card debt.
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         Nebraska Court of Appeals Advance Sheets
              32 Nebraska Appellate Reports
                            MACY V. MACY
                        Cite as 32 Neb. App. 258
   [5-7] Neb. Rev. Stat. § 42-365 (Reissue 2016) authorizes a
trial court to equitably distribute the marital estate according to
what is fair and reasonable under the circumstances. Parde v.
Parde, 313 Neb. 779, 986 N.W.2d 504 (2023). In a marital dis-
solution action, the purpose of a property division is to distrib-
ute the marital assets equitably between the parties. Id. There
is no mathematical formula by which property awards can be
precisely determined, but as a general rule, a spouse should be
awarded one-third to one-half of the marital estate, the polestar
being fairness and reasonableness as determined by the facts of
each case. Id.   [8] In Kauk v. Kauk, 310 Neb. 329, 336, 966 N.W.2d 45, 52
(2021), the Nebraska Supreme Court discussed the three-step
process under § 42-365 for the division of property, stating:
          In a dissolution action, the equitable division of prop-
       erty is a three-step process. The first step is to classify the
       parties’ property as either marital or nonmarital, setting
       aside the nonmarital property to the party who brought
       the property to the marriage. The second step is to value
       the marital assets and marital liabilities of the parties. And
       the third step is to calculate and divide the net marital
       estate equitably between the parties.
                (i) Classification of Student Loans
   Jeffry argues that the district court erred in classifying
$27,453 of Megan’s student loans incurred during the parties’
marriage as marital debt because Megan failed to provide any
documentation showing that the loans were used for mari-
tal expenses.
   [9-10] As a general rule, all property accumulated and
acquired by either spouse during the marriage is part of the
marital estate, unless it falls within an exception to the gen-
eral rule. Sitz v. Sitz, 275 Neb. 832, 749 N.W.2d 470 (2008).
In a marital dissolution proceeding, the burden of proof rests
with the party claiming that property is nonmarital. Wright v.
Wright, 29 Neb. App. 787, 961 N.W.2d 834 (2021).
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                           MACY V. MACY
                       Cite as 32 Neb. App. 258
   Here, the parties do not dispute that, during the course of the
parties’ marriage and prior to their separation, Megan incurred
student loans to further her education. During the dissolution
hearing, both Jeffry and Megan acknowledged that some of the
funds were used for marital expenses, including to pay off debt
associated with Megan’s wedding ring. Jeffry specifically testi-
fied that “I know that they were used for living expenses. They
were, also, used to buy her diamond ring that she wanted at the
time, which we didn’t include, because that’s — I forgot what
you told me, but it’s like a $5,000 diamond ring . . . .”
   In Wright v. Wright, supra, in classifying school debt
incurred during the marriage as marital or nonmarital, this
court reemphasized the importance of presenting a sufficient
record that establishes the distribution and utilization of stu-
dent loans incurred during the marriage as it relates to their
proper classification. There, as here, the evidence inadequately
indicated where the loan proceeds were actually spent, save
only the limited evidence presented above that suggested the
loans were utilized for marital purposes. Similar to Wright, in
the absence of further evidence and context governing the bal-
ance on the student loans, and in recognition of the fact that
the burden belonged to Jeffry to show this debt incurred during
the marriage was nonmarital, we cannot say the district court
abused its discretion in attributing the debt as marital on the
limited evidence presented on this topic. This assignment of
error fails.

                   (ii) Classification of Fence
   Jeffry next argues that the district court abused its discretion
in determining that $8,000 paid for the installation of a fence
on the marital property was a marital debt. Specifically, Jeffry
contends that because Megan paid $7,000 up front for the
fence, only the $1,141.09 that remained to be paid on the fence
should have been included in the marital estate.
   During the proceedings, the district court received two
invoices sent to Megan for the cost of the fence. The evidence
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                          MACY V. MACY
                      Cite as 32 Neb. App. 258
showed that after the complaint for dissolution had been filed,
Megan had a fence installed to replace a fence that was rotting
and was not secured. However, after the work began, Megan
noticed that a portion of the fence was not being taken down
and she was informed that the portion of the fence needing
repair was not included in the initial estimate. Megan paid
the June 2020 invoice of $7,000. Thereafter, in August 2020,
Megan received, and paid, a second invoice in the amount
of $1,141.09. The parties did not dispute that the debt was
paid after the parties’ separation but prior to trial; however,
Megan argued that because the value of the home increased by
$33,000 due in part to the fence replacement, and the district
court utilized the appreciated value of the property in the divi-
sion of assets, she should be entitled to a credit of $8,000 paid
for the fence.
   The district court agreed and credited Megan for the amount
of the fence. Based on the fact that the parties both received
a benefit as a result of the increase in value of the home and
that Jeffry also received a credit for mortgage payments made
following the parties’ separation, we cannot say it was unrea-
sonable or unfair for the court to credit Megan for the $8,000
payment for the fence that at least partially contributed to the
increase in the value of the marital home, which increase was
ultimately shared by the parties. This assignment fails.

             (iii) Classification of Credit Card Debt
   Jeffry also asserts that the district court erred in includ-
ing $2,893 of Megan’s credit card debt as marital debt. Jeffry
contends that because Megan did not have any documentation
supporting the balance on the credit card, inclusion of the debt
was not supported on the record.
   In a marital dissolution proceeding, the burden of proof rests
with the party claiming that property is nonmarital. Wright v.
Wright, 29 Neb. App. 787, 961 N.W.2d 834 (2021).
   During the trial, Megan testified that the $2,893 credit card
was mislabeled as a USAA credit card balance on the parties’
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                           MACY V. MACY
                       Cite as 32 Neb. App. 258
joint property statement when the card was actually a dif-
ferent credit card. She indicated that the balance on the card
was from “May of 2019 or the other date that was provided.”
Jeffry did not dispute Megan’s testimony, nor argue during the
proceedings that the credit card debt was not a marital debt.
Because the undisputed evidence establishes that the $2,893
credit card balance was a debt accrued during the parties’ mar-
riage, prior to their separation, we find that the district court
did not err in classifying the debt as marital. Accordingly, this
claim fails.

                      (b) Valuation of Assets
   The second step in the three-part equitable division of prop-
erty requires the valuation of the parties’ marital assets and
liabilities. In connection with this step, Jeffry takes issue with
the court’s valuation of his TSP account and his motorcycle.
We will discuss those assignments separately.

                              (i) TSP
   Jeffry argues that the district court abused its discretion in
valuing his TSP as of June 30, 2020, which resulted in a valua-
tion of $69,784. He contends that the court should have valued
the TSP account on the same date as the rest of the marital
estate and that, had his TSP been valued as of March 31, 2020,
it would have resulted in a value of $52,529.31.
   [11-13] The date upon which the marital estate is valued
should be rationally related to the property composing the
marital estate. Tyma v. Tyma, 263 Neb. 873, 644 N.W.2d 139(2002). In dissolution actions, district courts have broad discre-
tion in valuing pension rights and dividing such rights between
the parties. Id. The date of valuation of a marital estate is
reviewed for an abuse of the trial court’s discretion. See Rohde
v. Rohde, 303 Neb. 85, 927 N.W.2d 37 (2019).
   [14-16] In Rohde v. Rohde, 303 Neb. at 94-95, 927 N.W.2d
at 45, the Nebraska Supreme Court addressed the issue of mul-
tiple valuation dates, stating:
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          We decline to mandate that a trial court must use only
      one valuation date in equitably dividing a marital estate.
      The date for valuation must be rationally related to the
      property being divided. Frequently, a single valuation
      date will be appropriate; but sometimes, it will not. The
      purpose of assigning a date of valuation in a decree is to
      ensure that the marital estate is equitably divided. This
      harkens back to the polestar of equitable division, which
      is fairness and reasonableness under the facts of the case.
      What may be a fair and reasonable valuation on one date
      for an asset may be unfair and unreasonable for another
      asset on the same date. “The choice of a date as of which
      assets available for equitable distribution should be iden-
      tified and valued must be dictated largely by pragmatic
      considerations.” It can become arduous for the district
      court to determine one date that fairly and reasonably
      values the entire marital estate. We choose not to tie the
      hands of the district court; thus, the court need not find
      “‘[o]ne [date] to rule them all.’”
   Here, Megan testified at trial that she believed that the TSP
account should be valued as of June 30, 2020, because Jeffry
stopped contributing to the plan after the parties decided to
separate, despite the fact they had contributed about $1,000
per month to the TSP prior to that time. Thereafter, the account
initially lost money through market fluctuations but eventu-
ally recovered. According to Megan, utilization of Jeffry’s
valuation date would result in a valuation during the period of
time that the account’s value slightly decreased.
   The district court valued Jeffry’s TSP based on Megan’s
proposed valuation date of June 30, 2020, which resulted in
the TSP being valued at $69,784. The district court has discre-
tion to utilize multiple dates to fairly and reasonably divide
the marital estate so long as the valuation date is rationally
related to the property being divided, and the district court did
so in this case. Here, we find it both fair and reasonable that
the court chose a valuation date that coincided with a date that
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the TSP recovered its value through normal market fluctua-
tions, rather than the date used for other valuations that were
not susceptible to market fluctuations. Stated differently, had
the court valued the account on the date proposed by Jeffry,
he would have incurred a benefit from the downward market
fluctuation that recovered shortly thereafter. Under these cir-
cumstances, we find that the district court did not abuse its
discretion in using multiple valuation dates in order to achieve
an equitable division of the marital estate. This assignment of
error fails.

                          (ii) Motorcycle
   Jeffry contends that the district court erred in valuing a
motorcycle at $2,000 without evidence to support such a value.
He asserts that the district court should have accepted his value
of $1,500 for the motorcycle.
   [17,18] The division of property is not subject to a precise
mathematical formula. Pohlmann v. Pohlmann, 20 Neb. App.
290, 824 N.W.2d 63 (2012). When evidence is in conflict, an
appellate court considers, and may give weight to, the fact that
the trial judge heard and observed the witnesses and accepted
one version of the facts rather than another. Wright v. Wright,
29 Neb. App. 787, 961 N.W.2d 834 (2021).
   During the trial, the parties offered differing opinions regard-
ing the motorcycle’s value. Megan valued the motorcycle at
$4,000 based on its Kelley Blue Book value but admitted that
she was unsure of the motorcycle’s mileage, which would have
an impact on its total value. Jeffry, on the other hand, testified
that he had purchased the motorcycle in 2014 for $6,000; that
the motorcycle had 80,000 miles; that he accidentally knocked
it over in the driveway, damaging the “right hand brake” and
electronic components; and that the manufacturer would only
give $500 credit for a trade-in value. He valued the damaged
motorcycle at $1,500.
   Here, the district court did not accept the specific values
provided by either party, but instead valued the motorcycle at
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$2,000, which was half of the Kelley Blue Book value prof-
fered by Megan and more than Jeffry’s proposed valuation of
$1,500. We further note that the district court’s valuation of
the motorcycle is consistent with Jeffry’s answers to interroga-
tories, which were received into evidence, wherein he valued
the motorcycle at $2,000. We find that the district court did
not abuse its discretion in choosing a value between the values
proposed by the parties and that the valuation determined by
the court was supported by the evidence. This assignment of
error fails.

            (c) Calculation of Equalization Payment
   Jeffry’s next assignment of error is that the district court
erred in calculating the equalization payment, because there
was a $10,000 typographical error in the court’s calculation.
He further argues that, in combination with the cumulative
errors as argued above, the equalization payment should have
been $31,637.03.
   After dividing up the marital estate, the district court sum-
marized as follows:
      Property and Debt Summary
                         Jeffry               Megan
     Section A:          $2,270.00            $5,645.00
     Section B:          $18,781.85           $3,976.00
     Section C:          $9,000.00            [$2,267.00]
     Section E:          $57,957.00           $46,786.66
     Section F:          $75,148.35           $14,565.65
     Section J:          [$23,190.58]         [$38,436.00]
     Totals:             $149,966.62          $30,269.66
        Payment from Jeffry to Megan to equalize the property
     division is $59,848.48.
   We agree with Jeffry that the court’s table contains a typo-
graphical error. In section J, Jeffry was assigned debt of
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$13,190.58 for his USAA credit card, but the court’s table
incorrectly lists that debt as $23,190.58. However, the court’s
calculation of marital assets awarded to Jeffry utilized the cor-
rect $13,190.58 figure to reach the correct total of $149,966.62
of assets awarded to Jeffry. Since the court’s determination of
the total award to Jeffry utilized the correct amount awarded to
Jeffry under section J and the court’s totals listed in the table
reflect the proper amount awarded under the decree, we find
no error in the court’s final calculation. Additionally, because
we previously rejected Jeffry’s claims regarding error by the
district court in its classification and/or valuation of marital
assets and debts, we find no error in the court’s calculation of
the equalization payment. This claim fails.
                    (d) Conditional Judgment
   Jeffry’s final assignment of error is that the portion of the
court’s order contained in “Exhibit E,” dividing his unvested
military credits on a conditional basis, was a conditional judg-
ment where the rights of the parties could not be determined
with reasonable certainty.
   [19] Neb. Rev. Stat. § 25-1301 (Cum. Supp. 2022) defines a
judgment as “the final determination of the rights of the parties
in an action.” The Nebraska Supreme Court stated in Strunk
v. Chromy-Strunk, 270 Neb. 917, 929-30, 708 N.W.2d 821,
834 (2006):
         We have elaborated that a “judgment” is a court’s
      final consideration and determination of the respective
      rights and obligations of the parties to an action as
      those rights and obligations presently exist. Village of
      Orleans v. Dietz, 248 Neb. 806, 539 N.W.2d 440 (1995).
      Thus, we have held that orders purporting to be final
      judgments, but that are dependent upon the occurrence
      of uncertain future events, do not operate as “judgments”
      and are wholly ineffective and void as such. See Kroll
      v. Department of Motor Vehicles, 256 Neb. 548, 590
      N.W.2d 861 (1999). These “conditional judgments” are
      not final determinations of the rights and obligations of
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    the parties as they presently exist, but, rather, look to
    the future in an attempt to judge the unknown. Village of
    Orleans v. Dietz, supra. We have held that a conditional
    judgment is wholly void because it does not “perform in
    praesenti” and leaves to speculation and conjecture what
    its final effect may be. Id.  [20-22] However, as it related to actions in equity, the
Nebraska Supreme Court further elaborated in Strunk:
        We now expressly hold that the void conditional judg-
    ment rule does not extend to actions in equity or to equi-
    table relief granted within an action at law. Rather, where
    it is necessary and equitable to do so, a court of equitable
    jurisdiction may enter a conditional judgment and such
    judgment will not be deemed void simply by virtue of
    its conditional nature. Conditional judgments are a fun-
    damental tool with which courts sitting in equity have
    traditionally been privileged in order to properly devise
    a remedy to meet the situation. We will not take away
    that tool by extending our void conditional judgment rule
    into the realm of equity. Rather, we follow the numerous
    decisions from other jurisdictions, set forth above, and
    precedent by this court that recognizes that a strict pro-
    hibition against conditional judgments is inappropriate to
    equitable relief.
        . . . We note, however, that simply because a condi-
    tional judgment in an action at equity is not automatically
    void, it does not follow that all conditional judgments are
    acceptable on direct review or that judgments in equity
    cannot, for different reasons, be void and therefore sub-
    ject to collateral attack. Certain conditional judgments
    may still be considered erroneous or an abuse of discre-
    tion, be set aside where procured by fraud, or be consid-
    ered void as contrary to statute or public policy.
        Perhaps most relevant, conditional judgments in equity
    are required to determine the rights and obligations of the
    parties with reasonable certainty.
270 Neb. at 934-35, 708 N.W.2d at 837.
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   Here, after hearing evidence related to the division of mili-
tary benefits, the district court found Jeffry had served in the
U.S. Navy for more than 10 years, overlapping 10 years of
marriage, and that the credits that Jeffry earned during his
service were marital assets that were subject to division by the
court. Further, having noted that Jeffry separated from active-
duty service on September 30, 2021, prior to serving 20 years
in the Navy, the Court stated:
         Should [Jeffry] re-enter active duty military service
      at any time during his lifetime, he shall promptly notify
      [Megan] of his re-entry. Should [Jeffry] complete a total
      of twenty (20) or more years of military service, [Megan]
      will be awarded a portion of [Jeffry’s] military retired
      pay, as described in this section, and with the following
      factual findings, legal conclusions, and information nec-
      essary for [Defense Finance and Accounting Service] to
      effectuate this award.
(Emphasis omitted.)
   Jeffry argues that the portion of the district court’s order
related to his military credits is a void conditional judg-
ment, because it does not determine his rights and obligations
with reasonable certainty. More specifically, he argues that
because his military retirement benefits were unvested, any
order would not be recognized by the Defense Finance and
Accounting Service because there were no benefits to divide.
Additionally, he argues that the order contains a hypothetical
division of an unvested asset that may never vest, and it fails
to address how Megan should buy in if the credits are con-
verted. Jeffry argues that because the district court is unable
to predict the legal landscape at the time of any hypothetical
future employment, and there are no actual benefits to divide,
the court had no ability to ascertain his rights and obligations
under the decree.
   [23] Insofar as his argument relates to the fact that his
benefits are unvested, that argument fails. In Nebraska, mari-
tal assets are subject to equitable division in a dissolution
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proceeding and retirement benefits, “whether vested or not
vested,” are eligible for inclusion in the marital estate under
Neb. Rev. Stat. § 42-366(8) (Reissue 2016). Weiland v. Weiland,
307 Neb. 882, 951 N.W.2d 519 (2020).
   As it relates to the certainty of the rights and obligations, the
court’s order requires that should Jeffry reenter the military or
become employed in the federal sector, convert his credits, and
complete 20 years of service, he is required to notify Megan
and she will be awarded a portion of the retirement benefit.
More specifically, the district court order awarded Megan 50
percent of the disposable military retired pay Jeffry “would
have received had he retired with a retired base (High-3) of
$7,630 per month, and with 12.75 years of credi[ta]ble service
on July 31, 2021. This award shall include [50 percent] of
all future cost-of-living adjustments (‘COLA’s’).” (Emphasis
omitted.) Neither party disputes that the district court’s order
is conditioned on whether or not Jeffry either reenters the mili-
tary or obtains employment in the federal sector and converts
his time-served credits to the federal retirement plan. Because
the void conditional judgment rule does not apply in cases of
equity, we cannot find that the conditional nature of the order
alone renders the judgment void.
   However, since certain conditional judgments may still be
considered erroneous or an abuse of discretion, be set aside
where procured by fraud, or be considered void as contrary to
statute or public policy, we consider whether the judgment is
void due to the order not determining the rights and obligations
of the parties with reasonable certainty as alleged by Jeffry.
See Strunk v. Chromy-Strunk, 270 Neb. 917, 708 N.W.2d 821(2006). We find that it is not.
   [24] In Longo v. Longo, 266 Neb. 171, 663 N.W.2d 604(2003), the Nebraska Supreme Court analyzed Nebraska law
in relation to a conditional award of future military pen-
sion benefits that had not vested. In connection therewith,
the appellant argued that, because there was no guaran-
tee of receiving a future pension benefit, the appellant had
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no ownership interest under § 42-366(8). In finding that
the argument ran contrary to its prior decisions involving
the treatment of military benefits in dissolution proceedings,
the Nebraska Supreme Court upheld the conditional award,
citing Ray v. Ray, 222 Neb. 324, 383 N.W.2d 752 (1986), and
ultimately held:
         We agree with Justice Brodkey’s observation that
      § 42-366(8) logically requires that a nonvested military
      pension be treated as marital property in a dissolution
      proceeding. While military personnel do not make mon-
      etary investments in a pension plan, they invest time
      and personal sacrifice in order to qualify for a nondis-
      ability military pension. Spouses of such personnel share
      in this investment to the extent that the duration of the
      marriage coincides with the period of military service.
      As one court has noted, the future retirement pay of a
      career military service member who is not yet eligible
      to retire “is a contractual right, subject to a contingency,
      and is a form of property.” Jackson v. Jackson, 656 So.
      2d 875, 877 (Ala. Civ. App. 1995). Because § 42-366(8)
      specifically requires the inclusion of retirement benefits
      “whether vested or not vested” in the marital estate, we
      conclude that the district court did not err in awarding
      [appellee] a share of [appellant’s] future nondisability
      military pension entitlement, payable only if and when
      such benefits become payable to [appellant].
Longo v. Longo, 266 Neb. at 179, 663 N.W.2d at 610.
   But Jeffry also assigns and argues that the conditional
aspect of the order here should be set aside on a separate
basis. That is, he argues that the part of the court’s order
awarding a portion of the pension benefit to Megan does not
determine the rights and obligations of the parties with rea-
sonable certainty.
   In relation to the conditional aspect of the order govern-
ing Jeffry’s pension, the court fashioned language that dealt
with both disposable military retired pay should Jeffry reenter
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(which we will refer to as his “Military Retirement Pension”)
and potential retirement pay in any other government system
that would give Jeffry credit for the time he served while
in the military (which we will refer to as his “Civil Service
Retirement Benefit”).
   As to the former, the language of the order awarding
Megan 50 percent of the disposable military retired pay that
Jeffry “would have received had he retired with a retired
base (High-3) of $7,630 per month, and with 12.75 years of
credi[ta]ble service on July 31, 2021,” (emphasis omitted),
complies with the Nebraska Supreme Court’s directives in
Weiland v. Weiland, 307 Neb. 882, 951 N.W.2d 519 (2020).
In Weiland, after reviewing applicable Department of Defense
regulations that provide guidance for district courts to cre-
ate a hypothetical retired pay amount, in relation to a dis-
trict court’s order awarding pension benefits, the Nebraska
Supreme Court held:
         We reverse and vacate the district court’s order and
      remand the matter with directions to value [the hus-
      band’s] hypothetical retired base pay, to be determined
      based on the average basic pay for the most recent 36
      months (known as high-3) prior to the hypothetical retire-
      ment date of September 30, 1996. Applicable Department
      of Defense regulations provide guidance for the district
      court to create a hypothetical retired pay formula based
      on the relevant facts. To enable the Defense Finance and
      Accounting Service to calculate the hypothetical retired
      pay amount, the clarifying court order must provide the
      following: (1) the percentage the former spouse was
      awarded; (2) the hypothetical years of creditable service,
      or, in the case of a reservist, the Reserve retirement
      points on which the hypothetical retired pay is to be
      based; (3) the hypothetical retired pay base; and (4) the
      hypothetical retirement date. See DoD FMR 7000.14-R,
      vol. 7B, ch. 29, ¶ 290608(F). The decree should be clari-
      fied to reflect that [the wife] is awarded 50 percent of
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      the disposable military retired pay [the husband] would
      have received had he become eligible to receive mili-
      tary retired pay with a “retired pay base (high-3) of [$]”
      and with 3,334 Reserve retirement points on September
      30, 1996. See DoD FMR 7000.14-R, vol. 7B, ch. 29,
      figure 29-1.
307 Neb. at 891-92, 951 N.W.2d at 526.
   In summary, as for the Military Retirement Pension, which
is addressed in the dissolution decree’s attached “Exhibit E”
through paragraph xvi, we find no abuse of discretion and
affirm that portion of “Exhibit E.”
   That said, in his brief, Jeffry appears to take greater excep-
tion to the language of the order governing the hypothetical
Civil Service Retirement Benefit. In doing so, he argues:
      Astley also specifically testified about how his proposed
      language in subparagraph xvii . . . is based on hypotheti-
      cal scenarios that the Court must address in its order. . . .
      He testified that the Court needed to determine the fair
      and equitable manner to account for a future buy-in to the
      Federal Employee Retirement System (FERS) program in
      the event[Jeffry] became employed by the government as
      a civil service employee. . . . Specifically, should [Jeffry]
      become a federal employee, he may be entitled to “buy-
      out” any past military credits and apply [them] towards
      FERS retirement. This is based on a percentage of total
      earnings. This would be an additional up[-]front cost just
      to [Jeffry] if this extended series of variables were to
      come to fruition.
         ....
         The problem with these hypotheticals is that the ben-
      efits and their calculation are impossible to determine
      based on the record. . . . Astley admitted that [Jeffry’s]
      possible benefits could vest on entirely different sched-
      ules depending on whether he was active[-]duty military
      or whether he converted his military credits to a FERS
      benefit. . . . Astley acknowledged that the intent of the
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      proposed language (which was adopted [by the district
      court]) was to divide “credits,” that’s what he defined
      as the asset. . . . Yet . . . Astley specifically testified that
      he had no way to quantify or value those credits because
      “I don’t know under what conditions they would vest if
      at all.”
Brief for appellant at 21-22.
   We agree with Jeffry’s argument related to his potential Civil
Service Retirement Benefit. Because this record is devoid of
the future eventualities associated with civil service employ-
ment that could shape a future benefit award, we agree that
the language related to the Civil Service Retirement Benefit
found in paragraph xvii of the district court’s order does not
comply with the requirement that the provision must articu-
late the rights and obligations of the parties with reasonable
certainty and is therefore vacated. As Astley acknowledged
during his testimony, there are simply too many variables
associated with Jeffry’s possible civil service employment to
capture in the form of an award, and those differing options
are certainly not contained within this record. Instead, it was
clear that the court wanted to make sure the order captured
that Megan would be entitled to an award relating to any
future FERS program where Jeffry obtained benefits from his
prior military service that occurred while Jeffry was married
to Megan. In that regard, the court should simply have ordered
the following:
      The husband shall promptly notify the wife if he obtains
      employment with any governmental branch or agency
      that will permit him to obtain any credit toward any
      other government retirement system in combination with
      the time or credits he earned while in the military. In
      that event, the wife shall be entitled to 50 percent of the
      value for the 12 years and 9 months of creditable ser-
      vice that the husband earned during the parties’ marriage
      and the court retains jurisdiction to amend the decree to
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     issue such supplemental orders as may be required to
     effectuate this award.
  In summary, we vacate paragraph xvii contained within
“Exhibit E” attached to the dissolution decree and remand the
matter with directions to replace paragraph xvii as set forth
above.
                  2. Megan’s Cross-Appeal
   In her cross-appeal, Megan contends that the district court
abused its discretion in awarding the parties joint legal and
physical custody, awarding alimony of $250 per month for 60
months, and including $3,000 in Jeffry’s attorney fees in its
division of the parties’ marital estate.
                            (a) Custody
   Megan contends that the district court erred in awarding the
parties joint legal and physical custody. She points to Jeffry’s
behavior toward her and one of the children who found an
unattended loaded gun while in Jeffry’s care as factors weigh-
ing against joint legal and physical custody and in favor of
awarding her sole legal and physical custody.
   [25,26] When custody of minor children is an issue in a pro-
ceeding to dissolve the marriage of the children’s parents, cus-
tody is determined by parental fitness and the children’s best
interests. Burcham v. Burcham, 24 Neb. App. 323, 886 N.W.2d
536 (2016). When both parents are found to be fit, the inquiry
for the court is the best interests of the children. Id.   [27,28] When determining the best interests of the child in
deciding custody, a court must consider, at a minimum, (1)
the relationship of the minor child to each parent prior to the
commencement of the action; (2) the desires and wishes of
a sufficiently mature child, if based on sound reasoning; (3)
the general health, welfare, and social behavior of the child;
(4) credible evidence of abuse inflicted on any family or
household member; and (5) credible evidence of child abuse
or neglect or domestic intimate partner abuse. State on behalf
of Kaaden S. v. Jeffery T., 303 Neb. 933, 932 N.W.2d 692                              - 284 -
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(2019); Bryant v. Bryant, 28 Neb. App. 362, 943 N.W.2d 742(2020). The Parenting Act also provides that the best interests
of a child require a parenting plan that provides for a child’s
safety, emotional growth, health, stability, physical care, and
regular school attendance, and which promotes a child’s con-
tinued contact with his or her families and parents who have
shown the ability to act in the child’s best interests. Bryant v.
Bryant, supra.
   Here, the district court found that both parties were fit and
proper persons to have custody of their minor children and
awarded them joint legal and physical custody. During the dis-
solution hearing, both children testified that they had the same
general routine at both parents’ homes, that they had good
relationships with both parents, and that they wanted to spend
equal amounts of time with them. The evidence supported that
both Jeffry and Megan provide for their children’s safety, emo-
tional well-being, physical and emotional care, and educational
needs. Although one of the children located a loaded firearm
at Jeffry’s residence, neither party disputed that the child did
not touch the firearm and that Jeffry immediately placed the
firearm away from the children. Neither child reported seeing a
firearm after this one occasion. Based on our de novo review,
we find that the district court did not abuse its discretion in
awarding the parties joint legal and physical custody of their
minor children. This assignment fails.

                          (b) Alimony
   Megan next asserts that the district court erred in awarding
her insufficient alimony of $250 per month for 60 months.
She argues that an award of $600 per month for a total of 60
months is more appropriate, considering the parties’ significant
income disparity, the disruptions to her career, and her contri-
butions to the marriage.
   [29-32] In Wiedel v. Wiedel, 300 Neb. 13, 20-21, 911 N.W.2d
582, 588-89 (2018), the Nebraska Supreme Court stated:
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       In dividing property and considering alimony upon a
    dissolution of marriage, a court should consider four fac-
    tors: (1) the circumstances of the parties, (2) the duration
    of the marriage, (3) the history of contributions to the
    marriage, and (4) the ability of the supported party to
    engage in gainful employment without interfering with
    the interests of any minor children in the custody of each
    party. In addition, a court should consider the income and
    earning capacity of each party and the general equities of
    the situation.
       The purpose of alimony is to provide for the continued
    maintenance or support of one party by the other when
    the relative economic circumstances make it appropriate.
    In reviewing an alimony award, an appellate court does
    not determine whether it would have awarded the same
    amount of alimony as did the trial court, but whether
    the trial court’s award is untenable such as to deprive
    a party of a substantial right or just result. The ultimate
    criterion is one of reasonableness. An appellate court is
    not inclined to disturb the trial court’s award of alimony
    unless it is patently unfair on the record.
  Here, the district court awarded Megan alimony in the
amount of $250 per month for 60 months, finding that
    Jeffry has significantly higher earnings, and he has suf-
    ficient uncommitted funds available to pay child support
    and alimony. Jeffry has historically through the thirteen
    years of their marriage supplied the majority of the finan-
    cial needs of the family. There is a demonstrated need of
    Megan for support, and ability of Jeffry to meet that need.
    Megan has what appears to be a stable job in the teach-
    ing profession which affords health insurance benefits.
    She also has disability income through the VA which
    she expects will be in the amount of $758.28 following
    the decree. Unless Megan acquires further education, her
    future earning capacity will be limited.
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                          MACY V. MACY
                      Cite as 32 Neb. App. 258
   Based on our de novo review, we cannot find that the district
court abused its discretion in the amount of the alimony award.
At the time of the dissolution proceedings, the parties had been
married for 13 years. Shortly after the parties married, Jeffry
entered the Navy and the parties frequently moved to accom-
modate Jeffry’s military career. Jeffry was the primary finan-
cial support for the family. Jeffry separated from the Navy in
September 2021, and since then, he obtained two jobs earning
a total amount of $183,000 per year. Evidence at trial estab-
lished that after the parties agreed that Megan and the children
would relocate to Nebraska, Jeffry sent $3,500 in monthly sup-
port to Megan to cover living expenses.
   During the parties’ marriage, from 2009 to 2014, Megan was
a stay-at-home mother while simultaneously attending school
to obtain a teaching degree. After 2014, Megan began to teach
at various schools at the locations where Jeffry was stationed.
Then, after Megan and the children moved to Nebraska to help
care for Megan’s father, she began teaching, earning $63,000
per year. Additionally, she was receiving her VA disability at
40 percent, which she testified would decrease after the divorce
to $758.28.
   The district court found that an award of alimony was
proper, and the court’s order makes clear that it considered
the parties’ income disparity, the contributions of each party
to the marriage, and the primary financial support provided by
Jeffry for the family during the marriage, as well as Megan’s
demonstrated need for support. Although Megan argues that
she should be awarded more because of the disruptions in
her career due to the frequent moves to accommodate Jeffry’s
career, an appellate court does not determine whether it would
have awarded the same amount of alimony as did the trial
court, but whether the trial court’s award is untenable such
as to deprive a party of a substantial right or just result.
See Wiedel v. Wiedel, 300 Neb. 13, 911 N.W.2d 582 (2018).
Based on the record before us, we cannot say that the amount
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        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                           MACY V. MACY
                       Cite as 32 Neb. App. 258
awarded was unreasonable or patently unfair. This assign-
ment fails.

                     (c) Classifying Attorney
                       Fees as Marital Debt
   Megan’s final assignment of error is that the district court
erred in including the full amount of Jeffry’s USAA credit
card of $13,190.58 as marital debt because the evidence at trial
established that Jeffry had paid $3,000 of his attorney fees with
the card.
   Here, although both parties requested attorney fees in their
pleadings, the district court did not award attorney fees and
stated that “[a]ll other relief prayed for by either party, not
otherwise specifically addressed in this decree, is denied.”
Accordingly, each party was to pay his or her own attorney
fees, and the issue is whether the entire amount of Jeffry’s
credit card should be considered marital debt, despite Jeffry’s
testimony that he paid $3,000 of his attorney fees on that
credit card.
   [33] “‘[M]arital debt includes only those obligations incurred
during the marriage for the joint benefit of the parties.’”
Vanderveer v. Vanderveer, 310 Neb. 196, 210, 964 N.W.2d 694,
706 (2021).
   It is undisputed that $3,000 of Jeffry’s attorney fees were
paid by Jeffry on the credit card on February 25, 2020, and the
court included the entirety of the credit card balance as mari-
tal debt. Because the court explicitly determined it would not
require either party to pay the other party’s attorney fees, we
find that the district court erred in including the entire balance
of the credit card as marital debt in its calculation, because
this expense was not incurred for the joint benefit of the par-
ties. Accordingly, we reduce the total amount of Jeffry’s credit
card debt as listed in Section J from $13,190.58 to $10,190.58
and modify the district court’s award as follows (see bold
text below):
                              - 288 -
        Nebraska Court of Appeals Advance Sheets
             32 Nebraska Appellate Reports
                          MACY V. MACY
                      Cite as 32 Neb. App. 258
                         Jeffry                  Megan
     Section A:          $2,270.00               $5,645.00
     Section B:          $18,781.85              $3,976.00
     Section C:          $9,000.00               [$2,267.00]
     Section E:          $57,957.00              $46,786.66
     Section F:          $75,148.35              $14,565.65
     Section J:          [$10,190.58]            [$38,436.00]
     Totals              $152,966.62             $30,269.66
   With this modification, Jeffry’s total portion of the marital
estate is $152,966.62 and Megan’s total portion of the marital
estate is $30,269.66. Accordingly, we increase the amount of
the equalization payment that Jeffry is to make to Megan to
$61,348.48.
                      VI. CONCLUSION
   For the reasons stated above, we affirm in part and affirm
in part as modified the district court’s order, but reverse and
vacate paragraph xvii of “Exhibit E” and remand the matter
with directions to replace paragraph xvii with the following
language:
     The husband shall promptly notify the wife if he obtains
     employment with any governmental branch or agency
     that will permit him to obtain any credit toward any other
     government retirement system in combination with the
     time or credits he earned while in the military. In that
     event, the wife shall be entitled to 50 percent of the value
     for the 12 years and 9 months of creditable service that
     the husband earned during the parties’ marriage, and the
     court retains jurisdiction to amend the decree to issue
     such supplemental orders as may be required to effectuate
     this award.
          Affirmed in part, affirmed in part as modified,
          vacated in part, and in part reversed
          and remanded with directions.
